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                                                                    United States Bankruptcy Court
                                                                            District of Maryland
      In re      Mahmoud Musa Abulhawa                                                                      Case No.   20-18036
                                                                                    Debtor(s)               Chapter    13



                                                                           CHAPTER 13 PLAN
                                                           Original Plan       Amended Plan         Modified Plan

     1.      GENERAL PLAN PROVISIONS.
             The Debtor proposes the following Chapter 13 Plan and makes the following declarations (mark one of the
     following boxes that apply for each of 1.1, 1.2, and 1.3 below). If a box is marked as “does not . . .” or if more than one
     box is marked, the provision will be ineffective if set out later in the plan.

                 1.1         Declaration as to Nonstandard Provisions.
     This Plan:                does not contain nonstandard provisions.
     OR                        does contain nonstandard provisions set out in Section 9 below.

                 1.2         Declaration as to Limiting Secured Claims.
     This Plan:                does not limit the amount of a secured claim.
     OR                        limits the amount of a secured claim based on the value of the collateral securing the claim as set out in
                             Sections 5.1 through 5.4 below.

                 1.3         Declaration as to Avoiding Security Interests.
     This Plan:                does not avoid a security interest or lien.
     OR                        avoids a security interest or lien as set out in Section 5.1 through 5.4 below.

     2.          NOTICES.
             You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If
     you do not have an attorney, you may wish to consult one.

              2.1.    Notices to Creditors.
              Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. The declarations
     set out in Section 1 above may be of particular importance.
              If you oppose the Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file an
     objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by
     the Bankruptcy Court. The Court may confirm this Plan without further notice if no objection to confirmation is filed. See
     Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under the Plan.

             2.2.    Notices to Debtors.
             This form lists options that may be appropriate in some cases, but not all cases. Just because an option is listed on
     the form does not mean that it is appropriate for you. Plans contrary to the local rules and Court rulings may not be
     confirmed.

     3.      PLAN TERMS.
             The Debtor’s future earnings are submitted to the supervision and control of the Trustee, and the Debtor will pay
     as follows (mark and complete one of 3.1, 3.2, or 3.3 and/or 3.4 below; and, optionally, 3.5 as applicable):

                 3.1    Even Monthly Payments.
     $          per month for a term of  months.
OR

                 3.2          Varying Monthly Payments.

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            $ 100.00 per month for 12   month(s),
            $ 2492.00  per month for 48   month(s), for a total term of                         60   months.
OR
                   3.3      Varying Monthly Payments Before and After Confirmation.
         $        per month before confirmation of this Plan (use Section 4.6.1 below to
         list the adequate protection payments to be made before confirmation), and $                          per month after confirmation
of this plan, for a total term of      months.
AND/OR

            3.4      Additional Payments.
            In addition to monthly Plan payments under 3.1, 3.2, or 3.3, above, the Debtor will make the payments listed
below:

 Amount                                                        Date                                  Source of Payment

        3.5.      Additional Payment of Tax Refunds.
        The Debtor will provide the Trustee with copies of state and federal tax returns for the years listed below within
15 days of filing the returns (and must timely file the returns on or before April 15 of each year). Not later than June 1 of
each year, the Debtor will pay into the Plan the amount of refunds exceeding $ 0.00 (the amount already pro rated on
Schedule I, if any) for each of the listed years unless otherwise ordered by the Court. The tax refund payments are in
addition to, and not a credit against, the other payments required to be paid under the Plan. The Debtor will not make any
change to the number of any federal and state tax withholding allowances claimed as of the petition date without 30 days
prior notice to the Trustee.
This commitment covers tax years (list):

4.     DISTRIBUTION OF PLAN PAYMENTS.
From the payments made, the Trustee will make distributions in the order listed below:

            4.1    Trustee’s Commission.
            The Trustee will receive the allowed Trustee commission under 11 U.S.C. § 1326(b)(2).

        4.2     Administrative Claims.
        Next to be paid, except as provided in Section 4.3 below, are administrative claims under 11 U.S.C. § 507(a)(2),
including Debtor’s Counsel fee balance of $ 2,255.00 due and payable pursuant to a fee arrangement made under
Subparagraphs 4.A, B, or C of Appendix F to the Local Bankruptcy Rules.

            4.3         Domestic Support Obligations and Non-Appendix F Attorney Fees.


        Next to be paid, at the same time and pro rata, are allowed unsecured claims for: (i) domestic support obligations
under 11 U.S.C. § 507(a)(1); and (ii) any Debtor’s Counsel fee allowed under 11 U.S.C. § 507(a)(2) by Bankruptcy Court
order following an application pursuant to a fee arrangement under Section 7 of Appendix F to the Local Bankruptcy
Rules. Debtor’s Counsel fee balance to be paid through the Plan is expected to be in the amount of $ 0.00 .



       4.4     Former Chapter 7 Trustee Claims.
       Next to be paid are any claims payable to the former Chapter 7 Trustee under 11 U.S.C. § 1326(b)(3). List the
monthly payment: $ 0.00 .

         4.5     Priority Claims.
         Next to be paid are other priority claims defined by 11 U.S.C. § 507(a)(3) - (10). List the expected claims below:
 Priority Creditor                                                        Expected Claim Amount
 -NONE-
                                                                                2
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         4.6.    Secured Claims.
         Next to be paid, at the same time and pro rata with payments on priority claims under Section 4.5 above, are
secured claims as set forth below. The holder of an allowed secured claim retains its lien under 11 U.S.C. §
1325(a)(5)(B)(i). Any allowed secured claim listed in the Plan to be paid by the Trustee will be deemed provided for
under the Plan. Any allowed secured claim not listed in the Plan to be paid by the Trustee, or not stated to be paid outside
of or otherwise addressed in the Plan, will be deemed not provided for under the Plan and will not be discharged.

                        4.6.1.
                          Adequate Protection Payments for Claims Secured by or Subject to a Lease of Personal
                          Property
                 Beginning not later than 30 days after the petition date and until the Plan is confirmed, the Debtor will
directly pay adequate protection payments for claims secured by or subject to a lease of personal property for: None or
the Claims Listed Below (mark one box only). After confirmation of the Plan, the claims will be paid under Section
4.6.3. Make sure to list the amount of the monthly payment the Debtor will pay before confirmation, and list the last 4
digits only of the account number, if any, the lienholder uses to identify the claim:
 Lessor/Lienholder              Property/Collateral             Acct. No (last 4 numbers).                  Monthly Payment
 -NONE-


                4.6.2. Pre-petition Arrears on Secured Claims
                Pre-Petition arrears on secured claims will be paid through the Plan in equal monthly amounts while the
Debtor directly pays post-petition payments beginning with the first payment due after filing the petition for: None or
the Claims Listed Below (mark one box only). The claims listed below include: Claims Secured by the Debtor’s
Principal Residence and/or Other Property .
 Lienholder              Collateral                               Arrears       Monthly Payment No. of Months.
                                       11433 Brundidge                              $2752.36
  Claim #5 US Bank                     Terrace
  National Association                 Germantown, MD
                                       20876
                                       Montgomery County
  Claim #4 Chase                       8724 Hawkins                                 $0-Debtor is not
  Mortgage                             Creamery Road                                in arrears pre-petition
                                       Gaithersburg, MD
                                       20882




                4.6.3. Secured Claims Paid Through the Plan.
                The following secured claims will be paid through the Plan in equal monthly amounts for: None or the
Claims Listed Below (mark one box only). Such secured claims include secured claims altered under Sections 5.1
through 5.5 below. Make sure to list the interest rates to be paid:
  Lienholder             Collateral                 Amount          %Rate      Monthly Payment No. of Months.
Claim #7 Rushmore                     Montgomery County                $10861.00     9.25%
                                      11433 Brundidge
                                      Terrace
                                      Germantown, MD
                                      20876
                                      Montgomery Countyty



                4.6.4. Surrender Collateral to the Lienholder.
                The Debtor will surrender collateral to the lienholder for: None or the Claims Listed Below (mark
one box only). Describe the collateral securing the claim. Any allowed claim for an unsecured deficiency will be paid pro
                                                              3
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rata with general unsecured creditors. Unless the Court orders otherwise, a claimant may amend a timely filed proof of
claim for an unsecured deficiency after entry of the confirmation order as follows: (a) the amended proof of claim
asserting an unsecured deficiency claim for real property shall be filed within 0 days (no less than 180 days) after
entry of the confirmation order; (b) the amended proof of claim asserting an unsecured deficiency claim for personal
property shall be filed within 0 days (no less than 60 days) after entry of the confirmation order. Upon plan
confirmation, the automatic stay of 11 U.S.C. §§ 362 and 1301 terminates, if not terminated earlier, as to the collateral
listed:
 Lienholder                                                    Collateral to be Surrendered
 -NONE-


                 4.6.5. Secured Claims Outside of the Plan.
                 The Debtor will directly pay the secured claims outside of the Plan for: None or the Claims Listed
Below (mark one box only). Such claims are deemed provided for under the Plan. The Debtor will also directly pay
outside of the Plan the unsecured portion of a claim that is only partially secured, and any such unsecured claim is deemed
provided for under the Plan:
 Lienholder                                                     Collateral to Be Paid for Outside of the Plan

  Claim #3 Ford Motor                  2015 Ford F350 68,000
  Credit Company                       miles




                4.6.6. Secured Claim Not Listed in the Plan.
                The Debtor will directly pay any allowed secured claim not listed in the Plan outside of the Plan. Any
such claim will not be discharged.

                4.6.7. Additional Payments on Secured Claims.
                If the Trustee is holding more funds than those needed to make the payments under the Plan for any
month, the Trustee may pay amounts larger than those listed in Sections 4.6.2 and 4.6.3 pro rata.

                4.7. Unsecured Claims.
                After payment of all other claims, the remaining funds will be paid on allowed general unsecured claims
as follows (mark one box only):

     Pro Rata                                        100%                          100% Plus   % Interest

If there is more than one class of unsecured claims, list each class and how it is to be treated:
 Class of Unsecured Creditors                          Treatment
 -NONE-


5.      THE AMOUNT AND VALUATION OF CLAIMS.
        Secured creditors holding claims treated under Section 5 retain their liens until the earlier of: the payment of the
underlying debt determined under nonbankruptcy law; or discharge under 11 U.S.C. § 1328; or, if the Debtor cannot
receive a discharge as provided in 11 U.S.C. § 1328(f), the notice of Plan completion. If the case is dismissed or converted
without completion of the Plan, liens shall also be retained by the holders to the extent recognized under applicable
nonbankruptcy law.

                    5.1.    Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 506 Through the Plan.
                    The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 506 through the Plan for: None or
            the Claims Listed Below (mark one box only). The claims listed below include: Claims Secured by the
            Debtor’s Principal Residence and/or Other Property . Make sure to list the value of the collateral proposed
            to be paid through the Plan plus any interest below and in Section 4.6.3 above, as appropriate. Separately file:
            evidence of the collateral’s value; the existence of any superior lien; the exemption claimed; and the name,
            address, and nature of ownership of any non-debtor owner of the property. If the lienholder has not filed a proof
                                                                               4
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            of claim, also separately file evidence of the amount of the debt secured by the collateral. The amount and interest
            rate of the claim is set as listed below or by superseding Court order. A proof of claim must be filed before the
            Trustee makes payments. Any undersecured portion of such claim shall be treated as unsecured.

 Lienholder                           Collateral                         Value         %Rate      Monthly Payment No. of Months.
-NONE-
            5.2.Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 506 by Separate Motion or an Adversary
                Proceeding.
        The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 506 by separate motion or an adversary
proceeding for: None or the Claims Listed Below (mark one box only). The amount and interest rate of the claim will
be set by Court order. Make sure to list the value of the collateral proposed to be paid through the plan plus any interest as
determined by the Court in Section 4.6.3 above, as appropriate. A proof of claim must be filed before the Trustee makes
payments. Any undersecured portion of such claim shall be treated as unsecured.

 Lienholder                                                  Collateral
 -NONE-



         5.3.    Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 522(f)* Through the Plan.
         The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 522(f)* through the Plan for: None or the
Claims Listed Below (mark one box only). Make sure to list the value of the collateral proposed to be paid through the
Plan plus any interest below and in Section 4.6.3 above, as appropriate. Separately file: evidence of the collateral’s value;
the existence of any superior lien; the exemption claimed; and the name, address, and nature of ownership of any
non-debtor owner of the property. If the lienholder has not filed a proof of claim, also separately file evidence of the
amount of the debt secured by the collateral. The amount and interest rate of the claim is set as listed below or by
superseding Court order. A proof of claim must be filed before the Trustee makes payments. Any undersecured portion of
such claim shall be treated as unsecured.

 Lienholder                           Collateral                         Value         %Rate      Monthly Payment No. of Months.
 -NONE-


*Under 11 U.S.C. § 522(f) the Debtor may avoid a lien to the extent it impairs an exemption if the lien is a judicial lien or
a nonpossessory, non-purchase money security interest in certain property.

            5.4.Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 522(f)* by Separate Motion or an Adversary
                Proceeding.
        The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 522(f)* by separate motion or an adversary
proceeding for: None or the Claims Listed Below (mark one box only). The amount and interest rate of the claim will
be set by Court order. Make sure to list the value of the collateral proposed to be paid through the Plan plus any interest as
determined by the Court in Section 4.6.3 above, as appropriate. A proof of claim must be filed before the Trustee makes
payments. Any undersecured portion of such claim shall be treated as unsecured.

 Lienholder                                                 Collateral
 -NONE-

*Under 11 U.S.C. § 522(f) the Debtor may avoid a lien to the extent it impairs an exemption if the lien is a judicial lien or
a nonpossessory, non-purchase money security interest in certain property.

         5.5.    Claims Excluded from 11 U.S.C. § 506**.
         The Debtor will pay through the Plan the following claims excluded from 11 U.S.C. § 506** in full plus any
interest for: None or the Claims Listed Below (mark one box only). Make sure to list the amount proposed to be paid
through the Plan plus any interest below and in Section 4.6.3 above, as appropriate. The amount of each claim to be paid
will be established by the lienholder’s proof of claim or Court order. The interest rate of the claim is set as listed below or
by superseding Court order. A proof of claim must be filed before the Trustee makes payments.
                                                                                  5
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 Lienholder                           Collateral                       Amount to Be %Rate       Monthly Payment No. of Months.
                                                                       Paid
 -NONE-

**Claims excluded from 11 U.S.C. § 506 include claims where the lienholder has a purchase money security interest
securing a debt incurred within the 910-day period preceding the petition date, and the collateral consists of a motor
vehicle acquired for the personal use of the Debtor, or the collateral consists of any other thing of value if the debt was
incurred during the 1-year period preceding the petition date.

6.       APPLICATION OF PAYMENTS ON ACCOUNT OF SECURED CLAIMS.
         Payments made by the Chapter 13 Trustee on account of arrearages on pre-petition secured claims may be applied
only to the portion of the claim pertaining to pre-petition arrears, so that upon completion of all payments under the Plan,
the loan will be deemed current through the petition date.

7.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES.
         Any unexpired lease with respect to personal property that has not previously been assumed during the case, and
is not assumed in the Plan, is deemed rejected and the stay of 11 U.S.C §§ 362 and 1301 is automatically terminated with
respect to such property. The following executory contracts and/or unexpired leases are assumed or rejected for: None
or the Claims Listed Below (mark one box only). Any claim for rejection damages must be filed within 60 days from
entry of the order confirming this Plan.

 Lessor or Contract Holder                     Subject of Lease or Contract                 Assumed                Rejected.
 None


8.      REVESTING PROPERTY OF THE ESTATE.
        Title to the Debtor’s property shall revest in the Debtor when the Debtor is granted a discharge pursuant to 11
U.S.C. § 1328; or, if the Debtor cannot receive a discharge as provided in 11 U.S.C. § 1328(f), upon the notice of Plan
completion; or upon dismissal of the case.

9.      NON-STANDARD PROVISIONS.
        Any non-standard provision placed elsewhere in the Plan is void. Any and all non-standard provisions are: None
  or Listed Below (mark one box only).
Non-Standard Plan Provisions
Debtor is actively pursuing settlement negotiations in regards to Claim #10 Colonial Funding/Strategic Funding
Source, Inc. d/b/a Kapitus, Inc. Upon resolving claim Debtor will treat claim#10 in plan and/or Debtor
anticipates to withdraw Objection to claim

10.     SIGNATURES.
        The Debtor’s signature below certifies that the Plan provisions above are all the terms proposed by the Debtor,
and the Debtor has read all the terms and understands them. The signature below of the Debtor and Debtor’s Counsel, if
any, also certifies that the Plan contains no non-standard provision other than those set out in Section 9 above.

 Date: April 15, 2021                                                            /s/ Mahmoud Musa Abulhawa
                                                                                 Mahmoud Musa Abulhawa
                                                                                 Debtor

 /s/ Sari Kurland
 Sari Kurland                                                                    Joint Debtor
 Attorney for Debtor




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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF MARYLAND
In re:         Mahmoud Musa Abulhawa                                 :
                                                                     :      Case No.        20-18036
                                                                     :      Chapter 13
               Debtor(s)                                             :
                                                                     :

                                CERTIFICATE OF SERVICE OF CHAPTER 13 PLAN
Select Section 1, A,B, or C, and complete Sections 2 and 3 if applicable, even if Section 1(A) is selected.

1.        (Select A, B, or C):

        A.       This is an original plan, filed concurrently with the Petition, which will be mailed by the Clerk to all
creditors on the Matrix. [THIS OPTION MAY ONLY BE USED WHEN THE PLAN IS FILED WITH THE PETITION]

        B.      AMENDED PLANS ONLY INCREASING PAYMENTS: The Amended Chapter 13 Plan filed
herewith / filed on         , makes no changes from the last previously-filed plan other than to increase the amount
payable under the plan. In such event, no service is required.

           C.      ALL OTHER PLANS: This is to certify that on April 15,2021              , I caused the Chapter 13 Plan filed
herewith / filed on           , to be mailed by first class mail, postage prepaid, to all addresses on the attached matrix or
list. (If any parties on the matrix were served by CM/ECF instead of by mail, so indicate on the matrix with the email
address served as indicated on the CM/ECF Notice of Electronic Filing).

AND

2.        Check and complete this Section and Section 3 if liens are proposed to be valued or avoided through the Plan.

             I caused the Chapter 13 Plan filed herewith / filed on             , to be served pursuant to Bankruptcy Rule
          7004 on the following creditor whose lien is proposed to be impacted by the Plan (and not by separate motion)
          under Plan Paragraph 5.1 or 5.3. State address served and method of service. See Bankruptcy Rule 7004(h) if the
          party served is an insured depository institution. Attach separate sheets or repeat this paragraph for each such
          creditor served


           Name of Creditor


           Name served                                               Capacity (Resident Agent, Officer, etc.)

           Address


           City, State, ZIP

           Method of Service:

           Date Served:

          AND Select A or B:

          A.            A proof of claim has been filed with respect to the lien or claim at issue prior to service of the Plan. I
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          also mailed a copy of the Plan and supporting documents under Section 3 below to the claimant at the name and
          address where notices should be sent as shown on the proof of claim.

          B.            No proof of claim has been filed for the lien or claim at issue.

3.         Along with each copy of the Plan served under Section 2, I included copies of documentation supporting
Debtor’s entitlement to the relief sought in Plan Paragraph 5.1 or 5.3 with respect to that creditor (for example, documents
establishing the value of the property and the amount of any prior liens and the lien at issue), which I have also filed with
the Court as a supplement to the Plan. This supplemental material need not be served with the plan on all creditors, only
on affected secured creditors.

          This is an amended Plan and the documentation supporting Debtor’s entitlement to the relief sought in Plan
Paragraph 5.1 or 5.3 has been previously served and filed as ECF docket entry    .

I hereby certify that the foregoing is true and correct.


Dated:      April 15, 2021
                                                                                 /s/ Sari Kurland
                                                                                 Debtor, Counsel for Debtor, or other Person
                                                                                 effecting service




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Label Matrix for local noticing                      Synchrony Bank                                       UMB Bank, National Association
0416-0                                               c/o PRA Receivables Management, LLC                  not in its individual capacity, but sole
Case 20-18036                                        PO Box 41021                                         BWW Law Group, LLC
District of Maryland                                 Norfolk, VA 23541-1021                               6003 Executive Blvd.
Greenbelt                                                                                                 Suite 101
Fri Sep 11 14:44:17 EDT 2020                                                                              Rockville, MD 20852-3813
Capital One                                          Capital One Bank (USA), N.A.                         (p)JPMORGAN CHASE BANK N A
Attn: Bankruptcy                                     4515 N Santa Fe Ave                                  BANKRUPTCY MAIL INTAKE TEAM
Po Box 30285                                         Oklahoma City, OK 73118-7901                         700 KANSAS LANE FLOOR 01
Salt Lake City, UT 84130-0285                                                                             MONROE LA 71203-4774


Citibank/The Home Depot                              Colonial Funding Network, Inc                        Comcast
Attn: Recovery/                                      2500 Wilson Boulevard, Suite 350                     9606 Annapolis Rd
Centralized Bankruptcy                               Arlington, VA 22201-3873                             Lanham, MD 20706-2005
Po Box 790034
Saint Louis, MO 63179-0034

(p)COMPTROLLER OF MAYLAND                            LVNV Funding, LLC                                    Lincoln Automotive Financial Service
BANKRUPTCY UNIT                                      Resurgent Capital Services                           Attn: Bankruptcy
301 W PRESTON ST ROOM 409                            PO Box 10587                                         Po Box 542000
BALTIMORE MD 21201-2396                              Greenville, SC 29603-0587                            Omaha, NE 68154-8000


Mr. Cooper                                           Nissan Motor Acceptance                              Rushmore Lms
Attn: Bankruptcy                                     Attn: Bankruptcy Dept                                Attn: Bankruptcy
8950 Cypress Waters Blvd                             Po Box 660360                                        Po Box 55004
Coppell, TX 75019-4620                               Dallas, TX 75266-0360                                Irvine, CA 92619-5004


Sandy Spring Natl Bank                               State of Maryland DLLR                               Synchrony Bank/Sams Club
17801 Georgia Ave                                    Division of Unemployment Insurance                   Po Box 965060
Olney, MD 20832-2267                                 1100 N. Eutaw Street, Room 401                       Orlando, FL 32896-5060
                                                     Baltimore, MD 21201-2225


Taxing Authority of Montgomery County                Visa Dept Store National Bank/Macy’s                 Mahmoud Musa Abulhawa
Division of Treasury                                 Attn: Bankruptcy                                     7840 Beechcraft Avenue
255 Rockville Pike, Ste. L-15                        Po Box 8053                                          Gaithersburg, MD 20879-1542
Rockville, MD 20850-4188                             Mason, OH 45040-8053


Rebecca A. Herr                                      Sari Karson Kurland
Chapter 13 Trustee                                   The Kurland Law Group
185 Admiral Cochrane Dr.                             211 Jersey Lane
Suite 240                                            Rockville, MD 20850-7759
Annapolis, MD 21401-7623



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                  (d)Chase Mortgage                                    Comptroller of the Treasury
Correspondence Dept                                  Mail Code: OH4-7302                                  Compliance Division, Room 409
Po Box 15298                                         Po Box 24696                                         301 W. Preston Street
Wilmington, DE 19850                                 Columbus, OH 43224                                   Baltimore, MD 21201
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End of Label Matrix
Mailable recipients   22
Bypassed recipients    0
Total                 22
